                                                                          FILED
                                                               8/3/2021 4:01 PM
                                               ERIN CARTWRIGHT WEINSTEIN
                                                      Clerk of the Circuit Court
        IN THE CIRCUIT COURT OF THE NINETEENTH JUDICIAL CIRCUIT
                                                           Lake County, Illinois
                                  LAKE COUNTY, ILLINOIS

LincolnWay Community Bank,                       )        No. 19-CH-864
                                                 )
       Plaintiff,                                )
                                                 )
       v.                                        )        Property Address:
                                                 )        199 N. Rainbow Rd.
Piotr M. Gawron; Unknown Owners and              )        North Barrington, IL 60010
Non-record claimants,                            )
                                                 )
       Defendants.                               )

       DEFENDANTS’ EMERGENCY MOTION TO STAY THE JUDICIAL SALE
                   SET FOR AUGUST 10, 2021, AT 9:30 A.M.

       NOW COME the Defendants, Piotr M. Gawron and Julia Gawron (“Defendants”), by

and through their attorney, Arthur C. Czaja, and move this Honorable Court to stay the judicial

sale currently set August 10, 2020, at 9:30 a.m. In support thereof, the Defendants state and

allege as follows:

       1.      On July 25, 2019, the Plaintiff filed its Complaint to Foreclose Mortgage

(hereinafter “Complaint”) against the Defendant Piotr Gawron, alleging a default on the

mortgage loan secured by the real property located at and commonly known as 199 N. Rainbow

Road, North Barrington, IL 60010 (hereinafter “Property”).

       2.      On June 25, 2020, the Plaintiff amended its Complaint to include Julia Gawron as

a party defendant and to terminate her interest in the Property.

       3.      The Defendant Piotr M. Gawron is the owner of the Property.

       4.      On May 21, 2021, this Court entered a Judgment of Foreclosure and ordered a

sale of the Property.

       5.      Pursuant to said judgment, a sheriff’s sale of the Property is scheduled to take

place on August 10, 2021, at 9:30 a.m.



                                            Page 1 of 3
          6.     On July 29, 2021, the Defendant entered into a contract to sell the Property for

$1,375,000.00. Attached hereto and incorporated herein by reference as Exhibit 1 is a copy of

the Contract.

          7.     The Contract sale price is close to judgment amount needed to payoff the

Plaintiff. The judgment amount was $1,361,383.35.

          8.     The Defendants desire to resolve this matter with the short sale instead of judicial

sale.

          9.     The Defendants believe that it is fair, equitable and reasonable to stay the judicial

sale for an additional forty-five (45) days so that the sale of the Property can close.

          10.    The Defendants will be irreparably harmed if the Court does not allow them

additional time to complete the sale as a means of avoiding foreclosure and ruining their credit

record.

          11.    This is the Defendants first request for a stay of the judicial sale.

          12.    Therefore, the Defendants respectfully request that this Honorable Court grant

them additional time to allow the sale of the Property to close as an alternative to foreclosure.

          13.    In the event that this Court is inclined to grant the Defendants’ motion, the

Defendants are willing to waive any republication requirements so that the Plaintiff will not incur

additional costs if this motion is granted.

          WHEREFORE the Defendants, Piotr M. Gawron and Julia Gawron, pray that this

Honorable Court order as follows:

          (a).   That the sheriff sale of the subject property currently set for August 10, 2021, be

          stayed for forty-five (45) days; and

          (b).   For any other relief that the Court deems just and proper.




                                                 Page 2 of 3
                                             Respectfully submitted,

                                             Piotr M. Gawron and
                                             Julia Gawron


                                     By:     /s/ Arthur C. Czaja       .
                                             Arthur C. Czaja
                                             Attorney for Defendants

Arthur C. Czaja
Attorney for Defendants
ARDC #: 6291494
7521 N. Milwaukee Avenue
Niles, Illinois 60714
Telephone: (847) 647-2106
Facsimile: (847) 647-2057
Email: arthur@czajalawoffices.com




                                    Page 3 of 3
EXHIBIT 1
